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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

  JORGE GUTIERREZ on his own behalf
  and on behalf of all similarly situated individuals,
                                                              CIVIL ACTION
         Plaintiff,                                      CASE NO: 1:14-cv-22852-UU
  v.

  SEASALT AND PEPPER, LLC, a Florida
  Limited Liability Company,
  CARLOS MIRANDA, individually, and
  STEPHANE DUPOUX, individually,

        Defendants.
  _____________________________________/

     PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
  DISMISS PLAINTIFF’S AMENDED COMPLAINT AND MEMORANDUM OF LAW IN
                                SUPPORT

         Pursuant to the Federal and Local Rules of Civil Procedure, Plaintiff, Jorge Gutierrez, by

  and through the undersigned counsel, hereby files his Response in Opposition to Defendants

  Seasalt & Pepper, LLC, Carlos Miranda, and Stephane Dupoux’s Motion to Dismiss Plaintiff’s

  Amended Complaint and in support thereof states as follows:

                                              INTRODUCTION

         On October 14, 2014, Plaintiff filed his Amended Complaint against Seasalt & Pepper,

  LLC (“Seasalt and Pepper”), Carlos Miranda (“Miranda”), and Stephane Dupoux (“Dupoux”)

  (collectively, “Defendants”), on behalf of all similarly situated current and former tipped

  employees, alleging that Defendants failed to pay proper overtime wages in violation of the Fair

  Labor Standards Act. See D.E. 41. Plaintiff’s Amended Complaint also included a claim for

  unjust enrichment, stemming from Defendants’ improper retention of Plaintiff’s tips. See id. In

  addition, Plaintiff’s Amended Complaint plead a FDUTPA claim, alleging Defendants unfairly
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  and deceptively led their consumers and tipped employees to believe all gratuities were payable

  entirely to their tipped employees, when in fact they were not. See id.

         In lieu of filing an Answer to Plaintiff’s Amended Complaint, Defendants filed a Motion

  to Dismiss (“Motion”). See D.E. 44. Despite the low pleading burden that the Eleventh Circuit

  has held to be applicable to cases brought pursuant to the Fair Labor Standards Act (“FLSA”),

  and the detailed factual allegations made in Plaintiff’s Amended Complaint (“Complaint”),

  Defendants argue that same should be dismissed for failure to state a claim. In light of the

  sufficiency of Plaintiff’s allegations, and because well-established authority holds that Plaintiff’s

  allegations are not subject to dismissal at the pleading stage, this Court is due to deny

  Defendants’ Motion in its entirety. Moreover, Defendants ask this Court to ignore well-

  established law and find that because Defendants did not take a tip credit towards their minimum

  wage obligations, Defendants are thus permitted to steal Plaintiff’s wages. Defendants’ position

  in this regard is unsupported by relevant law.          Contrary to Defendants’ assertions, the

  Department of Labor has clearly and unambiguously held that Defendants’ act herein—retention

  of their tipped employees’ wages—violates the law. Thus, Defendants’ argument in this regard is

  without basis as well. Defendants also ask the Court to dismiss Plaintiff’s request for declaratory

  relief. This District has routinely held that declaratory relief claims are allowable under FLSA

  claims, especially when claims are brought on behalf of current employees. Consistent with

  those decisions, Plaintiff’s declaratory relief count, which is brought on behalf of a class of

  current and former employees, should be allowed to proceed, and consequently Defendants’

  Motion should be denied on this grounds as well. Finally, Defendants’ argument that Plaintiff’s

  unjust enrichment and FDUPTA claims preempt the FLSA fails as well. Plaintiff’s unjust

  enrichment and FDUPTA claims, which are pled in the alternative to Plaintiff’s tip retention
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  claims, are independent from the FLSA claim, are not predicated on a finding that Defendants

  violated the FLSA, and seek separate and distinct remedies that the FLSA does not provide. For

  all of these reasons, Defendants’ Motion is due to be denied.

                                     MEMORANDUM OF LAW

     I. Plaintiff’s Amended Complaint Sufficiently Pleads a Cause of Action Under the
        FLSA

             A. Standard of Review

         It is well-established that “[i]n deciding a motion to dismiss, the court may only examine the

  four corners of the complaint.” Madura v. Lakebridge Condo. Ass’n Inc., No. 07-CIV-2274-17-

  EAJ, 2008 WL 2329406, at *1 (M.D. Fla. June 4, 2008); See Bradley v. Leavitt, No. 07-CV-1690-

  Orl-31GJK, 2008 WL 2405028, at *10 (M.D. Fla. June 9, 2008) (“it is improper for the Court to

  consider any exhibits attached to a motion to dismiss or any exhibits attached to a plaintiff’s

  response to a motion to dismiss”). “The threshold sufficiency that a complaint must meet to survive

  a motion to dismiss is exceedingly low.” Id. In deciding a motion to dismiss, the Court must

  “accept all the factual allegations in the complaint as true” and “evaluate all inferences derived from

  those facts in the light most favorable to the plaintiff.” Padjuran v. Aventura Limousine & Transp.

  Serv., Inc., 500 F. Supp. 2d 1359, 1361 (S.D. Fla. 2007). “Unless it appears beyond doubt that the

  plaintiff can prove no set of facts in support of his claim which would entitle him to relief, the

  complaint should not be dismissed on grounds that it fails to state a claim upon which relief can be

  granted.” Id. (emphasis added).

         In an FLSA case, such as the one at bar, the set of facts a plaintiff must allege to survive

  dismissal is not complex. In fact, according to the Eleventh Circuit, “[u]nlike the complex antitrust

  scheme at issue in Twombly that required allegations of an agreement suggesting conspiracy, the

  requirements to state a claim of a FLSA violation are quite straightforward.” Schlinsky v. Action
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  Video Prods., Inc., No. 09-CIV-61779, 2010 WL 227910, at *2 (S.D. Fla. Jan. 13, 2010),

  (quoting Sec’y of Labor v. Labbe, 319 F. App'x 761, 763 (11th Cir. 2008)). In order to plead an

  FLSA claim, Plaintiff must only allege: (1) an employment relationship; (2) individual or

  enterprise coverage under the FLSA; and (3) that Plaintiff worked over 40 hours in a workweek

  but was not paid overtime. Morgan v. Family Dollar Stores, 551 F.3d 1233, 1277 n.68 (11th Cir.

  2008). Plaintiff’s claims need not be overly detailed but merely sufficient to state a claim under

  the FLSA. See Anish v. Nat’l Secs. Corp., No. 10-80330-CIV, 2010 WL 4065433 *2 (S.D. Fla.

  Oct. 15, 2010) (rejecting defendant’s demand for specific hours that were owed and rates of pay,

  the court found that plaintiff’s general allegations that he was an employee covered by the FLSA,

  that defendant failed to pay him time and one-half as well as minimum wages, and that defendant

  was an enterprise engaged in interstate commerce was sufficient). Each of these necessary

  allegations is present in Plaintiff’s Complaint in this matter.

         Pursuant to this binding authority, and as more fully set forth below, Plaintiff’s

  Complaint is legally sufficient to state a claim under the FLSA, and the Court should therefore

  deny Defendant’s Motion to Dismiss.

             B. The Allegations in Plaintiff’s Complaint Meet the Eleventh Circuit’s
                Pleading Standard for FLSA Cases.

         In his Complaint, Plaintiff alleges that: (1) he performed work as Defendants’ employee

  (see D.E. 41 at ¶¶23-25, 36); (2) Defendants are an enterprise covered by the FLSA (id. at ¶¶26-

  32); (3) Plaintiff worked overtime hours, for which Defendants failed to properly compensate

  him at the appropriate overtime premium rates (id. at ¶¶49, 52-54, 57, 61-67, 82-83); and (4)

  Defendants failed to maintain proper payroll records in accordance with the FLSA (id. at ¶¶50-

  52, 57). Plaintiff’s detailed factual allegations set forth each element of an FLSA claim, are

  sufficient to give Defendants fair notice of Plaintiff’s claims, and thus are sufficiently plead. As
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  courts within this District and Circuit have consistently recognize, Plaintiff has not only met, but

  exceeded the Eleventh Circuit pleading standard for a case arising from allegations of unpaid

  overtime. See, e.g., Devia v. Picasso Clothing Care, Inc., No. 07-22079-CIV-JORDAN, 2008

  WL 4500312 (S.D. Fla. Sept. 30, 2008); see also Labbe, Schlinsky, supra; Anish v. National

  Securities Corporation, 2010 WL 4065433 (S.D. Fla. Oct. 15, 2010).

          Plaintiff’s Complaint alleges that hours worked over 40 per week were not compensated

  at an overtime rate. (See D.E. #41, ¶¶ 49, 52-54, 57, 61-67, 82-83). A “claim for relief for

  failure to pay minimum wages [or] to provide overtime compensation ... under the FLSA does

  not require more.” Mitial, 2012 WL 2524272, at *3 (quoting Sec’y of Labor v. Labbe, 319 F.

  App'x 761, 764 (11th Cir. 2008)). To the extent that Defendants seek more specific information

  from Plaintiff (and potential collective-action members), discovery can provide Defendants with

  such data, as the lack of this information is not grounds for dismissal at this initial pleading

  stage. See Mitial, 2012 WL 2524272, at *3.

          In line with this binding authority, Plaintiff’s Complaint is inarguably sufficient to meet

  his pleading burden at this early stage in the case. Therefore, Defendants’ Motion should be

  denied on this basis alone.

      II. The DOL’s Regulations Explicitly State That Defendants’ Acknowledged Pay
          Practice is Illegal

          Defendants contend that because they paid Plaintiff an hourly rate that exceeded the

  federal minimum wage, they were permitted to retain Plaintiff’s tips. In other words, Defendants

  argue that since they did not take a tip credit towards their minimum wage obligations, they were

  free to retain some or all of the tips Plaintiff received from their patrons. Of course, this is not the

  law. Pursuant to its rulemaking authority, the Department of Labor has promulgated a gap filling

  measure which explicitly outlaws the very practice Defendants acknowledge they engaged in
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  here. See 29 C.F.R. 531.52. This regulation explicitly states that “[t]ips are the property of the

  employee whether or not the employer has taken a tip credit under section 3(m) of the FLSA.

  The employer is prohibited from using an employee's tips, whether or not it has taken a tip

  credit…” Id. Because this regulation is a gap filling measure, it is entitled to Chevron deference

  and the Court is constrained to follow the regulation. For this reason, Defendants’ argument

  necessarily fails.

          Congress, the Department of Labor, the Supreme Court, and other circuits, have all

  concluded that, with the exception of a valid tip pool or tip sharing arrangement, tips are the

  property of the employee and must be retained by the employee. See, e.g, 29 U.S.C. § 203(m) (an

  employer may not take a tip credit for an employee unless the employee qualifies as a tipped

  employee, is properly informed, and all tips received by the employee have been retained by the

  employee, except for a valid tip pool); 29 C.F.R. § 531.52 (“[t]ips are the property of the

  employee . . . .”); DOL Fact Sheet # 15 (“[w]here a tipped employee is required to contribute to a

  tip pool that includes employees who do not customarily and regularly receive tips, the employee

  is owed all tips he or she contributed to the pool and the full $7.25 minimum wage.”); Wage and

  Hour Field Operations Handbook, § 30d01(b) & (b)(1) (“[w]here an employer does not strictly

  observe the provisions of Sec 3(m), no tip credit may be claimed and the employees are entitled

  to receive the full cash [minimum wage], in addition to any tips they may have received . . . . ”);

  Richard v. Marriott Corp., 549 F.2d 303, 305 (4th Cir. 1977) (“tips belong to the employee to

  whom they are left.”); Williams v. Jacksonville Terminal Co., 315 U.S. 386, 397 (1942) (“where

  tipping is customary, the tips – in the absence of an ‘explicit contrary understanding’ – belong to

  the recipient.”). Defendants’ contrary assertions are misguided.
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         To ascertain Congress’ intention of this issue, this Court must turn to traditional tools of

  statutory construction. See Contreras-Bocanegra v. Holder, 678 F. 2d 811, 816 (10th Cir. 2012).

  In Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., the Supreme Court

  established a two-step process in evaluating agency regulations. First, the Court looks at

  “whether Congress has directly spoken to the precise question at issue. If the intent of Congress

  is clear, that is the end of the matter; for the court, as well as the agency, must give effect to the

  unambiguously expressed intent of Congress.” If congressional intent is ambiguous, the Court

  proceeds to the second step in the Chevron analysis to determine “whether the agency's answer is

  based on a permissible construction of the statute.” “Such legislative regulations are given

  controlling weight unless they are arbitrary, capricious, or manifestly contrary to the statute.”

  Further, “[a] court's prior judicial construction of a statute trumps an agency construction

  otherwise entitled to Chevron deference only if the prior court decision holds that its construction

  follows from the unambiguous terms of the statute and thus leaves no room for agency

  discretion.”

         Under that two-step test, the issue this Court first must decide is whether Congress, when

  it amended section 3(m) of the FLSA in 1974, “directly addressed the precise question at

  issue[,]” i.e., whether the FLSA governs an employer’s use of its employees’ tips when the

  employer does not take a tip credit. Mayo Found. for Med. Educ. & Research v. United States,

  131 S. Ct. 704, 711 (2011) (quoting Chevron, 467 U.S. at 842-43). The answer to that question is

  no. As the Ninth Circuit held in Cumbie v. Woody Woo, Inc., the very case on which Defendants

  rely, section 3(m) applies only to those employers who take a tip credit toward their minimum

  wage obligation and delineates the conditions with which employers must comply to avail

  themselves of the FLSA’s tip credit provision. Cumbie v. Woody Woo, Inc., 596 F.3d 577, 580-
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  82 (9th Ci. 2010) (noting that the FLSA does not address whether tips are solely the property of

  the employee or the employer, nor does it “restrict tip pooling when no tip credit is taken [by

  the employer]”). Section 3(m) is silent with respect to the use of employees’ tips by employers

  who do not take a tip credit. Thus, the Court must determine whether the applicable

  administrative agency has spoken on that issue and, if so, whether the agency’s interpretation is

  based on a permissible construction of the statute. See id. The answer to both of these questions

  is “yes.”

         The United States Department of Labor (the “DOL”) drafted 29 C.F.R. Part 531.52 to

  interpret generally the provisions of section 203(m) of the FLSA. In this regard, the DOL stated

  as follows:

         A tip is a sum presented by a customer as a gift or gratuity in recognition of some
         service performed for him. It is to be distinguished from payment of a charge, if
         any, made for the service. Whether a tip is to be given, and its amount, are matters
         determined solely by the customer, who has the right to determine who shall be
         the recipient of the gratuity. Tips are the property of the employee whether or not
         the employer has taken a tip credit under section 3(m) of the FLSA. The employer
         is prohibited from using an employee's tips, whether or not it has taken a tip
         credit, for any reason other than that which is statutorily permitted in section
         3(m): As a credit against its minimum wage obligations to the employee, or in
         furtherance of a valid tip pool. Only tips actually received by an employee as
         money belonging to the employee may be counted in determining whether the
         person is a “tipped employee” within the meaning of the Act and in applying the
         provisions of section 3(m) which govern wage credits for tips.”

         29 C.F.R. 531.52. The DOL’s clear guidance in this regard is not inconsistent with the

  FLSA or any other congressional expression of intent because, as noted above, Congress has

  remained silent on this issue. The DOL’s guidance acts instead to fill the gap left implicitly or

  explicitly by Congress on the use of employees’ tips when no credit is taken. Long Island Care

  at Home, Ltd. v. Coke, 551 U.S. 158, 165 (2007); see also Barnhart v. Walton, 535 U.S. 212, 218

  (2002) ("[S]ilence, after all, normally creates ambiguity. It does not resolve it."); Senger v. City
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  of Aberdeen, SD, 466 F.3d 670, 672 (8th Cir. 2006) (recognizing Department's authority to fill a

  "gap" in the FLSA's regulatory scheme). Furthermore, because these gap-filling rules are

  legislative, they have the force of law, and are "binding upon all persons, and on the courts, to

  the same extent as a congressional statute." Nat'l Latino Media Coalition v. Federal Commc'ns

  Comm'n, 816 F.2d 785, 788 (D.C. Cir. 1987); see Miller v. California Speedway Corp., 536 F.3d

  1020, 1033 (9th Cir. 2008) ("[L]egislative rules 'create rights, impose obligations, or effect a

  change in existing law pursuant to authority delegated by Congress.'") (citation omitted).

           The DOL even further defined the intent of the FLSA with regard to tips when it issued

  the Fact Sheet Number 15, attached hereto as EXHIBIT A. The Fact Sheet specifically states

  that “[t]ips are the property of the employee, adding that “[t]he employer is prohibited from

  using an employee’s tips for any reason other than as a credit against its minimum wage

  obligation to the employee (‘tip credit’) or in furtherance of a valid tip pool.” Id. In sum, the

  DOL has made it clear that contrary to Defendants’ assertions, Plaintiff and other similarly

  situated tipped employees must be allowed to retain their tips, and Defendants may not retain the

  tips in whole or in part.

      III. Courts Outside of the Ninth Circuit Defer to the DOL’s Regulation

              Tellingly, Defendants support their argument regarding the retention of tips entirely

  with cases from within the Ninth Circuit.1 However, no Court outside the Ninth Circuit has ever

  held that Defendants’ acknowledged pay practice complied with the FLSA. In fact, both before

  and after Woody Woo, Courts have held that tips belong to employees, regardless of whether a tip



  1
    Notably, even the cases to which Defendants cite fail to stand for the holding Defendants set forth. Specifically, in
  Trinidad v. Pret A Manger (USA) Ltd., 962 F.Supp.2d 545 (S.D.N.Y. 2013), the court addressed the issue in
  response to Plaintiff’s Motion for Conditional Certification. Even there, the court declined to strike Plaintiff’s
  claims. Id. (“For the time being, the Court will not strike the tip-pooling claims of those plaintiffs who have opted in
  to the case and who articulate such a theory.”)
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  credit is taken or not. See, e.g., Richard v. Marriott Corp., 549 F.2d 303, 305 (4th Cir.

  1977), cert. denied, 433 U.S. 915 (1977); Usery v. Emersons Ltd. et al., 1976 WL 1168, at *4

  (E.D. Va. 1976), vacated & remanded on other grounds sub. nom.; Marshall v. Emersons Ltd.,

  593 F.2d 565 (4th Cir. 1979); Winans v. W.A.S. Inc., 112 Wash.2d 529, 772 P.2d 1001 (Wash.

  1989); Chan v. Sung Yue Tung Corp., 2007 WL 313483 (S.D.N.Y. 2007); Bonham v. Copper

  Cellar Corp., 476 F. Supp. 98 (E.D. Tenn. 1979).

         Moreover, Oregon Restaurant and Lodging Ass'n et al. v. Solis, 948 F. Supp. 2d 1217 (D.

  Or. 2013), in which the U.S. District Court for the District of Oregon declared the DOL’s 2011

  regulations invalid, has in enforcement to the parties in that case. To that end the DOL has

  issued a disclaimer whereby it agreed not to enforce its tip retention requirements against only

  two specific groups: (1) those plaintiffs involved specifically in the Solis litigation; and (2) those

  employers who have not taken a tip credit in jurisdictions within the Ninth Circuit. See

  Disclaimer, attached hereto as EXHIBIT B. In other words, 29 C .F.R. 531.52 remains the law

  of every Circuit, including the Eleventh Circuit, with the exception of the Ninth Circuit. As such,

  “the law of the land” is that as promulgated by the DOL: employers may not retain their

  employees’ tips under any circumstances, regardless of whether they purport to take a “tip

  credit” or not. See id.

     IV. Plaintiff Has Adequately Stated a Claim for Declaratory Relief

         Defendants also seek to dismiss Plaintiff’s count for declaratory relief, brought on behalf

  of himself and other similarly situated current and former tipped employees. Pursuant to 28

  USCA § 2201(a), in a case of actual controversy within its jurisdiction, any court of the United

  States, upon the filing of an appropriate pleading, may declare the rights and other legal relations

  of any interested party seeking such declaration, whether or not further relief is or could be
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  sought. See 28 U.S.C. § 2201(a). The right to declaratory relief in FLSA cases has consistently

  been recognized by courts throughout the United States. See Kreher v. City of Atlanta, Georgia,

  2006 WL 739572 (N.D.Ga. 2006)(Police officers seek additional count for declaratory judgment

  in addition to overtime claim); see also Biggs v. Wilson, 828 F.Supp. 774 (E.D. Cal. 1991);

  Tierney v. Schwiker, 718 F. Supp. 2d. 449, 457 (D.C. Cir. 1983).

         This Circuit has consistently allowed claims for declaratory relief count to go forward in

  FLSA cases despite similar arguments from Defendants. See Puleo v. SMG Property

  Management, Inc., Case No.: 6:08-cv-86-Orl-22DAB, 2008 WL 3889727 (Fla.M.D. Aug. 2008)

  (J. Conway); McAllister v. Southwest Signal Co., Case No. 8:10-cv-02742 Doc. 12 (M.D. Fla.

  Jan. 24, 1011) (J. Moody) (“there is no authority suggesting that a plaintiff cannot seek

  declaratory relief against a defendant in an FLSA case”); Snyder v. Glen Lakes P’shit Ltd., 2011

  WL 2881843 (M.D. Fla. 2011) (Plaintiff brings his claims on behalf of himself and other

  similarly situated employees (current or former)). As Judge Moody clearly held in Snyder, the

  declaratory relief count could proceed because it was brought on behalf of current and former

  employees. Snyder, 2011 WL 2881843 at p.1 (Plaintiff seeks a declaration that Defendant failed

  to keep accurate time records, which could impact current employees who choose to opt-in to the

  case). Other Courts have decided that the better approach is to withhold any ruling on dismissal

  of the Declaratory Relief count until after deciding the issue of conditional certification. See

  Hart v. JP Morgan Chase Bank, N.A., Case No.:8:12-cv-00470-JDW-TBM Doc. 25 (M.D.Fla.

  June 20, 2012, J. Whittemore); citing Snyder, 2011 WL2881843. In sum, so long as the

  declaratory relief count could benefit current employees, it should be allowed.

         Here, Plaintiff has sufficiently stated a claim for declaratory relief under the Declaratory

  Judgment Act. Count V of the Complaint asks the Court to clarify and settle various legal issues
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  related to the case, including coverage, liquidated damages, and the Defendants’ failure to keep

  accurate records as required by law. For the same reasons asserted above, Plaintiff’s Declaratory

  Relief count serves a purpose to current employees, and Defendants’ Motion to dismiss same

  should be denied.

     V. Plaintiff’s FDUPTA and Unjust Enrichment Claims, Which Seek Relief
        Independent of the FLSA, Are Not Preempted

         In their Motion to Dismiss, Defendants ask this Court to dismiss Plaintiff’s unjust

  enrichment and FDUTPA claims, arguing both claims are preempted by the FLSA. A federal

  statute may preempt state law in three ways: (1) expressly, (2) impliedly, or (3) if there is an

  actual conflict between a federal and a state law. See, e.g., Garcia v. Wyeth-Ayerst Labs., 385

  F.3d 961, 965 (6th Cir. 2004). Defendants argue the unjust enrichment and FDUTPA claims are

  preempted by the FLSA because they are based on the same underlying facts and seek the same

  relief as the FLSA claims. However, Plaintiff’s unjust enrichment and FDUTPA claims are not

  preempted by the FLSA because they are independent from Plaintiff’s FLSA claim, they are not

  predicated on a finding that Defendants violated the FLSA, and they seek separate and distinct

  remedies that the FLSA does not provide.

         Indeed, the unjust enrichment claim seeks the repayment of Plaintiff’s 18% gratuity

  which was improperly retained by Defendants. Similarly, Plaintiff’s FDUTPA claim seeks

  damages attributable to Defendants’ unfair and deceptive trade practices. Conversely, the FLSA

  only provides for damages resulting from failure to pay proper overtime and minimum wages.

  Plaintiff’s unjust enrichment and FDUTPA claims, therefore, are separate and distinct claims

  with separate and distinct remedies from Plaintiff’s FLSA claim. Additionally, if successful, the

  unjust enrichment and FDUTPA claims will allow Plaintiff to recover remedies that the FLSA

  does not—repayment of the 18% gratuity Defendants improperly retained, and any damages this
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  Court determines are attributable to Defendants’ unfair and deceptive trade practices. As such,

  Plaintiff’s unjust enrichment and FDUTPA claims do not seek the same relief as his FLSA

  claims, and as such, they are not preempted by the FLSA. Further, Plaintiff asserts both the

  unjust enrichment and FDUTPA claims in the alternative to Plaintiff’s FLSA claims, so that the

  unjust enrichment and FDUTPA claims would only be adjudicated if the FLSA claims were

  dismissed and there were no adequate remedy at law. Federal Rule of Civil Procedure 8(e)(2)

  permits a party to plead alternative theories of relief under both legal and equitable grounds, even

  if the theories are inconsistent. Here, Plaintiff has plead alternative theories by pleading the

  unjust enrichment and FDUTPA claims along with Plaintiff’s claims under the FLSA. Dismissal

  of these claims is therefore inappropriate.

         Where the FLSA and state law supplemental claims are independent, most courts,

  including in the Eleventh Circuit and this District, have held that the state law claim is not

  preempted. See Gonzalez v. TZ Ins. Solutions, LLC, 2014 WL 103524, at *2 (Judge Covington

  denied Defendant’s Motion to Dismiss unjust enrichment claims in FLSA case); Scantland v.

  Jeffry Knight, Inc., 2010 WL 4117683, at *4 (M.D. Fla. 2010) (same) (citing Lindsay v. Gov’t

  Employees Ins. Co., 448 F.3d 416 (D.C. Cir. 2006); see also Jackson Healthport Technologies,

  LLC, 1:11-cv-1687-SCJ (N.D. GA. June 29, 2011) (allowing unjust enrichment claim to proceed

  where plaintiffs sought time spent working during workweeks where the earned in excess of

  minimum wage); see, e.g., Carter v. Jackson-Madison County Hospital District, 2011 U.S. Dist.

  LEXIS 36163, at *30-35 (W.D. Tenn. Mar. 31, 2011) (unjust enrichment claim not preempted by

  FLSA because it sought separate and independent relief for unpaid work performed during

  weeks in which employee’s total hours did not exceed forty); Sosnowy v. A. Perri Farms, Inc.,

  2011 U.S. Dist. LEXIS 13702, at *30-35 (E.D.N.Y. Feb. 10, 2011) (dismissing plaintiff’s unjust
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  enrichment claim nut allowing him leave to amend to assert unjust enrichment claim independent

  of the FLSA and acknowledging that unjust enrichment claim not preempted by FLSA if it is not

  based on a violation of the FLSA); Monahan v. Smyth Auto., Inc., 2011 U.S. Dist. LEXIS 9877,

  at *14-15 (S.D. Ohio Feb. 2, 2011) (“Clearly, unjust enrichment, while possibly based on many

  of the same facts, is not a claim duplicative of an FLSA claim, as the two do not share the same

  elements or require the same recovery.      Therefore, the court finds that a claim for unjust

  enrichment simply does not interfere with or create any obstacles to the FLSA scheme, and the

  two theories are not in conflict.”); Robertson v. LTS Mgmt. Servs. LLC, 642 F. Supp.2d 922, 928

  (W.D. Mo. 2008) (independent state law claims, including unjust enrichment, were not

  preempted); Osby v. Citigroup, Inc., 2008 U.S. Dist. LEXIS 39041, *6-7 n.1 (W.D. Mo. May 14,

  2008) (unjust enrichment claim not preempted by FLSA because it was based on state law, not

  the FLSA). Accordingly, for the reasons set forth above, Defendants’ Motion should be denied

  in this regard.

      VI. Plaintiff Has Standing to Maintain His FDUTPA Claim

          Defendant argues that Plaintiff does not have standing to maintain a FDUTPA action

  because Plaintiff is not a “consumer.” Many cases, however, hold that non-consumers may sue

  under      FDUTPA.       See Kelly v. Palmer, Reifler & Assocs., P.A., 681F.Supp.2d 1356, 1372–

  74 (S.D.Fla.2010) (citing cases). These cases determined that non-consumers may sue under

  FDUTPA because of a 2001 amendment to the statute. See id.

          The rationale in these cases is that the 2001 legislative amendments to § 501.211(2)

  broadened the scope of FDUTPA, to authorize any person or entity who suffered a loss as a

  result of an unfair or deceptive trade practice or act to bring a suit for damages. Prior to 2001,

  subsection (2) provided that in an individual action brought “by a consumer” who suffered a loss
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  as a result of a violation of the act, “such consumer” could recover actual damages. In 2001, the

  Florida Legislature replaced the word “consumer” with the word “person.” See 2001 Laws of

  Fla. ch. 2001–39 § 6 (amending § 501.211(2) as described). Thereafter, several courts reasoned

  that the amendment “demonstrates an intent to allow a broader base of complainants ... to seek

  damages” under FDUTPA. See Chief Judge Moreno’s opinion in Kelly, 681 F. Supp. 2d at 1373

  (affirming and adopting report of United States Magistrate Judge Edwin G. Torres); see

  also Niles     Audio   Corp.   v.   OEM    Sys.    Co.,     Inc., 174     F.Supp.2d   1315,   1320

  (S.D.Fla.2001) (holding competitor could seek damages under newly amended § 501.211(2)); N.

  Am.    Clearing,   Inc.   v.   Brokerage   Computer       Sys., 666     F.Supp.2d   1299,   1309–11

  (M.D.Fla.2009) (declining to grant summary judgment merely because the plaintiff was not a

  consumer); James D. Hinson Elec. Contracting Co., Inc. v. Bellsouth Telecomms., Inc., No.

  3:07–cv–598–J–32MCR, 2008 WL 360803, at *2–*3 (M.D.Fla. Feb. 8, 2008) (“Courts in this

  district have held that [the 2001 amendment replacing “consumer” with “person”] demonstrates a

  clear legislative intent to allow a broader base of complainants who have been injured by

  violations of FDUTPA to seek damages, not just injunctive relief.”); Scantland v. Knight, 2010

  WL 4117683, at *7 (M.D. Fla. 2010); True Title, Inc. v. Blanchard, No. 6:06–cv–1871–Orl–

  19DAB, 2007 WL 430659, at *3–*4 (M.D.Fla. Feb. 5, 2007); Advanced Prot. Techs., Inc. v.

  Square D Co., 390 F.Supp.2d 1155, 1164 (M.D.Fla.2005); Gritzke v. M.R.A. Holding, LLC, No.

  4:01CV495–RH, 2002 WL 32107540, at *4 (N.D.Fla. March 15, 2002).

          In line with the cases from this Circuit which hold a non-consumer may maintain an

  action for damages under FDUTPA, Defendants’ Motion to Dismiss should likewise be denied in

  this regard.
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                                             CONCLUSION

          Plaintiff’s Amended Complaint satisfies the minimal pleading standard in FLSA cases.

  In addition, Plaintiff has sufficiently stated a claim for declaratory relief under the Declaratory

  Judgment Act. Last, Plaintiff’s unjust enrichment and FDUTPA claims seek damages that the

  FLSA cannot provide Plaintiff and the class. Therefore, they are not duplicative of the FLSA

  and are not preempted. For the reasons set forth herein, no basis exists for dismissing any

  portion of Plaintiff’s Amended Complaint, and Defendants’ Motion to Dismiss should be denied

  in its entirety.

          Respectfully submitted this 10th day of November, 2014.

                                                  /s/AMANDA E. KAYFUS

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 10th day of November, 2014, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which I understand will send

  a notice of electronic filing to all counsel of record.



                                                            /s/AMANDA E. KAYFUS
                                                            Amanda E. Kayfus, Esquire
